  Case 1:20-rj-00004 Document 6-1 Filed 07/01/20 USDC Colorado Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO

                                    CASE NO.: 1:20-rj-00004

 LICKERISH, LTD., et al.,

                Judgment Creditor,

 v.

 GUNAXIN MEDIA LLC,

                Judgment Debtor.


                                     WRIT OF EXECUTION

TO THE MARSHAL OF THE DISTRICT OF COLORADO:

       YOU ARE HEREBY COMMANDED TO levy upon the property, goods, chattels, lands

and tenements of the above named defendant GUNAXIN MEDIA LLC found in your district in

the possession of NAME.COM, INC., COMPLIANCE DEPARTMENT, 414 14TH

STREET #200, DENVER, COLORADO 80202, c/o Dessa Dal Porto, Esq., Assistant

General Counsel, Donuts Inc., 10500 NE 8th Street, Suite 750, Bellevue, WA 98004, 425-

298-1643, dessa@donuts.email, more particularly all right, title and interest consisting of

general intangibles, contract rights, rights under any license, agreement, or contract, rights to use,

transfer, sell or convey, in and to the domain name GUNAXIN.COM due to, in the name of,

owed to, owned by, registered in the name, for the benefit of, held in trust for, or in the name of

GUNAXIN MEDIA LLC the judgment-debtor.to enforce the payment of the judgment obtained

against said defendant GUNAXIN MEDIA LLC, and in favor of the above-named plaintiff

LICKERISH, LTD. in the principal sum of $543,822.66 including costs and excluding interest.

The said judgment now remains unsatisfied on the records in this office.



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  Case 1:20-rj-00004 Document 6-1 Filed 07/01/20 USDC Colorado Page 2 of 2




       YOU ARE FURTHER HEREBY COMMANDED TO make a return of this Writ of

Execution, showing in what manner you have executed the same, and upon what property of the

defendant GUNAXIN MEDIA LLC you have made levy and/or money received. Also you shall

include your fees which shall be taxed as costs. And that you file your return of Writ with the

Clerk of this Court within 90 days.

DATED: July 1, 2020                          Respectfully submitted,


                                             /s/ Joel B. Rothman
                                             JOEL B. ROTHMAN
                                             Florida Bar No. 98220
                                             joel.rothman@sriplaw.com

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                                             Attorneys for Judgment Creditor Lickerish, Ltd.




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